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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLORADO

Civil Action No. 21-cv-02694-STV

SARA BRUBAKER and

DALE BRUBAKER,

      Plaintiffs,
v.

MEGAN A. RING, in her individual capacity, and

KATHARINE HAY, in her individual capacity,

      Defendants.

             MOTION TO DISMISS PLAINTIFFS’ COMPLAINT

      Defendants, by and through the Office of the Colorado Attorney Gen-

eral and the undersigned assistant attorneys general, file this motion pursu-

ant to Fed. R. Civ. P. 12(b)(1) and (6), show as follows:

                               BACKGROUND

      This is a 42 U.S.C. § 1983 action brought by two citizens against two

State employees in their individual capacity. In their Complaint filed on Oc-

tober 5, 2021, Plaintiffs seek an order declaring that Defendants violated

their Constitutional rights; enjoining Defendants from further violations of


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Plaintiff’s rights; and awarding them fees, expenses, and costs. [Doc. No. 1.]

For the reasons set forth below, Defendants request this Court to dismiss

Plaintiffs’ action in its entirety.

                            PLAINTIFFS’ ALLEGATIONS

      Plaintiffs’ factual allegations are as follows: Plaintiffs are defendants in

two criminal cases pending in Colorado state court, Larimer County Court

Case Nos. 2020CR1727 and 2020CR1733. [Doc. No. 1] at ¶ 10. They are each

facing multiple charges, including a class 3 felony. Id., ¶ 12. On April 23,

2021, Defendants, through their deputy, notified the state district court that

Plaintiffs do not qualify for court-appointed counsel. Id., ¶ 13. Defendants

determined that Plaintiffs’ assets disqualified Plaintiffs from receiving free

counsel. Id., at ¶ 15. Plaintiffs protested the ineligibility determination and

advised Defendants that they could not afford to hire counsel. Id., at ¶ 16.

Plaintiff Dale Brubaker advised that the bulk of assets attributed to him

were his wife’s separate property, but Defendants continued to attribute the

assets to him. Id., at ¶17. Defendants’ actions have violated Plaintiffs’ right

to equal protection and denied them the assistance of court-appointed

counsel. Id., at ¶ 18.



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                           PLAINTIFFS’ CLAIMS

      Based on the foregoing allegations, Plaintiffs bring three claims against

Defendants under 42 U.S.C. § 1983: for alleged violation of their Equal

Protection rights under the Fourteenth Amendment; violation of rights

secured by the Sixth Amendment; and violation of rights secured by the Due

Process clause of the Fourteenth Amendment.

                     SUMMARY OF THE ARGUMENT

      Plaintiffs improperly name as Defendants two employees of the Office

of the State Public Defenders in this action in which Plaintiffs seek to reliti-

gate an issue that was addressed by the Larimer County District Court (here-

inafter the State district court”) which concluded that Plaintiffs are not indi-

gent such that the Court may appoint the public defender and alternate de-

fense counsel to represent them in their state criminal cases. That determi-

nation was made by the State district court and not by Defendants. For sev-

eral reasons discussed below, this Court should dismiss this action because it

lacks subject matter jurisdiction and because Plaintiffs’ Complaint fails to

state a 1983 claim against Defendants upon which any relief can be granted.




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                                 ARGUMENT

I.   This Court lacks subject matter jurisdiction and should
     dismiss under Rule 12(b)(1).

      In a Rule 12(b)(1) motion, the moving party may (1) facially attack the

complaint's allegations as to the existence of subject matter jurisdiction, or

(2) go beyond allegations contained in the complaint by presenting evidence

to challenge the factual basis upon which subject matter jurisdiction rests.

Merrill Lynch Bus. Fin. Servs., Inc. v. Nudell, 363 F.3d 1072, 1074 (10th Cir.

2004). A review of Plaintiffs’ underlying state criminal cases to which

Plaintiffs refer in their Complaint, see Complaint [Doc. No. 1], at ¶ 10,

reveals that Plaintiffs are seeking through this action either a review or a re-

litigation of that Colorado state court order that denied their request for

court appointed counsel. See Order Denying Request for Court Appointed

Counsel (hereinafter the “State court order”), filed herewith as Exhibit A.1




1 When a party challenges the allegations supporting subject-matter jurisdic-
tion, the court has wide discretion to allow affidavits, other documents, and a
limited evidentiary hearing to resolve disputed jurisdictional facts. In such
instances, a court's reference to evidence outside the pleadings does not con-
vert the motion to dismiss to a Rule 56 motion for summary judgment.” Davis
ex rel. Davis v. United States, 343 F.3d 1282, 1296 (10th Cir. 2003)
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      Thus, although Plaintiffs name two employees of the Office of the State

Public Defender as defendants, their issue is with the court that entered the

State court order. Defendants request this Court to take judicial notice of the

State court order. St. Louis Baptist Temple, Inc. v. Fed. Deposit Ins. Corp.,

605 F.2d 1169, 1172 (10th Cir. 1979) (In appropriate circumstances, federal

courts may take judicial notice of proceedings in other courts, both within and

without the federal judicial system, if those proceedings have a direct relation

to matters at issue). Here, the State court order shows that Plaintiffs

challenged the State public defender’s determination that Plaintiffs were

ineligible for court-appointed counsel and that the State district court held a

hearing on that issue on April 29, 2021. Exhibit A at 1. Subsequent to the

hearing, at which Plaintiffs were represented by counsel, the State district

court made findings and entered the State court order on May 3, 2021. See id.

      The State district court specifically found, inter alia, that Plaintiffs

have over $440,000 in assets, including over $100,000 in cash at hand for

each, and that they were therefore not indigent for purposes of court-

appointed counsel. Id., at 6. Plaintiffs petitioned the Colorado Supreme Court

for a review of the State district court’s order under Colorado Appellate Rule



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21, and the supreme court denied Plaintiffs’ petition on June 1, 2021. See

Order of Court, filed herewith as Exhibit B.

      Having lost in state court, Plaintiffs have now turned to this federal

district court for a second bite. Initially, this Court lacks subject matter

jurisdiction to grant the relief they are requesting. To the extent they are

seeking a review of the State court order, this court lacks appellate

jurisdiction and, to the extent they are attempting to relitigate the issue they

lost in the State district court, they are barred by the doctrines of Rooker-

Feldman, collateral estoppel, and Younger abstention.

   A. This Court lacks jurisdiction over Plaintiff's 1983 claim for injunctive
      relief against Defendants in their individual capacities.

      Plaintiffs are asking this Court to issue a declaratory order and to

grant injunctive relief against Defendants, who are sued in their individual

capacity. This Court lacks authority to grant such relief because Plaintiffs’

claims are not cognizable in this jurisdiction. Brown v. Montoya, 662 F.3d

1152, 1161, n.5 (10th Cir. 2011) (“Section 1983 plaintiffs may sue individual-

capacity defendants only for money damages and official-capacity defendants

only for injunctive relief”) (citing Hafer v. Melo, 502 U.S. 21, 30, 27 (1991); see




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also Simon v. Burtlow, 2021 WL 4059782, at *3 (D. Colo. Sept. 7, 2021);

Walker v. Knapic, 2020 WL 9459154, at *2 (D. Colo. Nov. 10, 2020).

    B. Plaintiff’s action is barred by the Rooker-Feldman doctrine.

       Under the Rooker–Feldman doctrine, federal district courts lack

jurisdiction to review state court judgments. Facio v. Jones, 929 F.2d 541, 544

(10th Cir. 1991). While this Court might ordinarily have subject matter

jurisdiction over federal question claims under 28 U.S.C. § 1331, Rooker-

Feldman precludes it from exercising such jurisdiction here. Exxon Mobil

Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 291 (2005). The Rooker–

Feldman doctrine precludes “cases brought by state-court losers complaining

of injuries caused by state-court judgments rendered before the district court

proceedings commenced and inviting district court review and rejection of

those judgments.” Exxon Mobil Corp., at 282 (2005). This is the case here,

where Plaintiffs initiated the instant action after the State court order was

entered and the Colorado supreme court declined Plaintiffs’ petition for its

review.2 Under Rooker-Feldman, “a party losing in state court is barred from




2In this jurisdiction, Rooker-Feldman applies regardless of whether the state order
at issue is temporary or final. Merrill Lynch Bus. Fin. Servs., Inc. v. Nudell, 363
F.3d 1072, 1075 (10th Cir. 2004).
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seeking what in substance would be appellate review of the state judgment in

a United States district court, based on the losing party's claim that the state

judgment itself violates the loser's federal rights.” Johnson v. De Grandy, 512

U.S. 997, 1005–06 (1994). Pursuant to 28 U.S.C. § 1257(a), “federal review of

state court judgments can be obtained only in the United States Supreme

Court.” Kiowa Indian Tribe of Okla. v. Hoover, 150 F.3d 1163, 1169 (10th Cir.

1998).

   C. Younger doctrine requires this Court to abstain from intervening.

      Where a plaintiff has raised certain claims in a prior proceeding,

Younger deprives a district court of jurisdiction to resolve the same claims.

Goings v. Sumner Cty. Dist. Attorney's Office, 571 Fed. Appx. 634, 639 (10th

Cir. 2014). The Younger doctrine, see Younger v. Harris, 401 U.S. 37 (1971),

provides that a federal court should not intervene in state criminal prosecu-

tions begun prior to the institution of a federal suit when the state court pro-

ceedings: (1) are ongoing, (2) implicate important state interests, and (3) offer

an adequate opportunity to hear federal constitutional claims. Winnebago

Tribe of Nebraska v. Stovall, 341 F.3d 1202, 1204 (10th Cir. 2003).

      According to Plaintiffs, their state criminal prosecutions are ongoing,

with trial scheduled for December 2021. See [Doc. No. 13] at p. 9.

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      Plaintiffs allege they are “charged with multiple felonies, including a

Class 3 felony.” [Doc. No. 1] at ¶ 12. Those criminal cases necessarily impli-

cate important state interests. Strickland v. Wilson, 399 Fed. Appx. 391, 397

(10th Cir. 2010) (finding that state proceeding involved important state inter-

ests where it involved the enforcement of its criminal laws); Hicks v. Mi-

randa, 422 U.S. 332, 349 (1975) (“The rule in Younger v. Harris is designed to

permit state courts to try state cases free from interference by federal courts”)

(internal quotation marks omitted).

      Plaintiffs do not allege the State courts do not offer them an adequate

opportunity to present their federal constitutional claims. “[I]t is a plaintiff’s

burden to establish that state law prevents him from presenting his federal

claims in state proceedings.” J.B. ex rel. Hart v. Valdez, 186 F.3d 1280, 1292

(10th Cir. 1999). When a state forum provides an adequate avenue of relief,

federal courts should not interfere by granting the sort of relief that Plaintiff

is requesting. See, Joseph A. ex rel. Wolfe v. Ingram, 275 F.3d 1253, 1267

(10th Cir. 2002).

      “Once these three [Younger] conditions are met, Younger abstention is

non-discretionary and, absent extraordinary circumstances, a district court is

required to abstain.” Crown Point I, LLC v. Intermountain Rural Elec. Ass'n,
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 319 F.3d 1211, 1215 (10th Cir. 2003). Accordingly, Defendants respectfully

 request this Court to dismiss this action.

 II. Plaintiffs’ action is properly dismissed under Fed. R. Civ. P.
     12(b)(6) for failure to state a claim upon which relief may be
     granted.

    A. Plaintiffs’ allegations fail to state a claim against Defendants upon
       which any relief may be granted.

       To withstand a Rule 12(b)(6) motion to dismiss, a complaint must

 contain enough allegations of fact to state a claim to relief that is plausible on

 its face. Robbins v. Oklahoma, 519 F.3d 1242, 1247 (10th Cir. 2008). The

 Twombly/Iqbal pleading standard requires courts to take a two-prong

 approach to evaluating the sufficiency of a complaint. Ashcroft v. Iqbal, 556

 U.S. 662, 678-79 (2009). The first prong requires the court to identify which

 allegations “are not entitled to the assumption of truth” because, for example,

 they state legal conclusions or merely recite the elements of a claim. Id. at

 678. The second prong requires the court to assume the truth of the well-

 pleaded factual allegations “and then determine whether they plausibly give

 rise to an entitlement to relief.” Id. at 679. “Accordingly, in examining a

 complaint under Rule 12(b)(6), [courts] will disregard conclusory statements

 and look only to whether the remaining, factual allegations plausibly suggest

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 the defendant is liable.” Khalik v. United Air Lines, 671 F.3d 1188, 1191

 (10th Cir. 2012).

       Here, Plaintiffs’ complaint does not allege any concrete affirmative act

 or omission by either defendant. It only alleges that:

       • “Defendants Megan A. Ring and Kathryn Hay, through their
         deputy, Eric Vanatta, filed a Notice in the Larimer County
         District Court contending that the Plaintiffs do not qualify for
         court-appointed counsel.” [Doc. No. 1] at ¶ 13.
       • “Defendant Hay departed from the standards [of a Colorado
         Chief Justice Directive] by determining that the Plaintiffs’
         assets were sufficient to disqualify them [from indigency].” Id.,
         ¶ 15.
       • “Counsel for Plaintiffs advised the Defendants that they had
         failed to comply with Chief Justice Directive …” Id., ¶ 16.
       • “Dale Brubaker also advised that the bulk of the assets were
         his wife’s separate property … but the Defendants continued to
         attribute her assets to him …” Id., ¶ 17.
       • “The Defendants refused to comply with the statewide standards
         …” Id., ¶ 18.

       In general, “state actors may only be held liable under § 1983 for their

 own acts, not the acts of third parties,” Robbins, at 1251, and to state a claim,

 a § 1983 complaint must allege facts which, if true, establish an “affirmative

 link between the defendant’s conduct and any constitutional violation,”

 Stidham v. Peace Officer Stds. & Training, 265 F.3d 1144, 1156 (10th Cir.

 2001). Plaintiffs’ complaint fails to do this. “In § 1983 cases, defendants often

 include the government agency and a number of government actors sued in
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 their individual capacities. Therefore, it is particularly important in such

 circumstances that the complaint make clear exactly who is alleged to have

 done what to whom, to provide each individual with fair notice as to the basis

 of the claims against him or her, as distinguished from the collective

 allegations against the state.” Robbins, at 1249-50 (emphasis in original

 text).

          Plaintiffs’ allegation here that Defendants acted “through their Deputy,

 Eric Vanatta,” [Doc. No. 1] at ¶ 13, indicates Plaintiffs are suing these

 Defendants in their supervisory capacity. Government officials are not

 vicariously liable for the misconduct of their subordinates because “[t]here is

 no concept of strict supervisor liability under § 1983,” Serna v. Colorado Dept.

 of Corrections, 455 F.3d 1146, 1151-52 (10th Cir. 2006), and “Supervisors are

 only liable under § 1983 for their own culpable involvement in the violation of

 a person’s constitutional rights,” id.

          Plaintiffs’ allegation that “Defendant Hay departed from the

 standards,” [Doc. No. 1] at ¶ 15 is personal opinion or legal conclusion that

 cannot withstand a Rule 12(b)(6) motion. Ashcroft v. Iqbal, 556 U.S. 662, 678,

 (2009) (“the tenet that a court must accept as true all of the allegations

 contained in a complaint is inapplicable to legal conclusions. Threadbare
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 recitals of the elements of a cause of action, supported by mere conclusory

 statements, do not suffice”). Equally insufficient are the allegations that

 Defendants “failed to comply with Chief Justice Directive,” [Doc. No. 1] at ¶

 16, or with “statewide standards,” id. at ¶18, as too is the allegation that

 Defendants attributed to Dale Brubaker the bulk of assets that were Sara

 Brubaker’s. Id. at ¶ 17. Not only are these allegations impermissibly

 conclusory, they also do not rise to the level of a constitutional violation. At

 most, to the extent they may be construed to state a claim, these allegations

 suggest that Defendants were negligent in the way they evaluated Plaintiffs’

 applications for appointment of counsel. Negligence alone cannot support a

 claim under section 1983; as the Supreme Court has made clear, liability

 under § 1983 must be predicated upon a “deliberate” deprivation of

 constitutional rights by the defendant. City of Canton v. Harris, 489 U.S. 378,

 389 (1989). It cannot be predicated upon negligence. Daniels v. Williams, 474

 U.S. 327, 330 (1986) (“We conclude that the Due Process Clause is simply not

 implicated by a negligent act of an official causing unintended loss of or

 injury to life, liberty, or property); see also Medina v. City and County of

 Denver, 960 F.2d 1493, 1500 (10th Cir. 1992) (“negligence and gross

 negligence do not give rise to section 1983 liability”). Because there is no
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 allegation that either of the defendants personally or intentionally violated

 Plaintiffs’ rights, Plaintiffs fail to state an actionable claim.

    B. Plaintiff’s action is barred by issue preclusion, or collateral estoppel.

       Generally, res judicata is an affirmative defense to be pleaded in the

 defendant's answer. However, when all relevant facts are shown by the

 court's own records, of which the court takes notice, the defense may be

 upheld on a Rule 12(b)(6) motion without requiring an answer. Tri–State

 Truck Ins., Ltd. v. First Nat'l Bank of Wamego, 564 Fed. Appx. 345, 347 (10th

 Cir. 2014).

       The U.S. Supreme Court has long recognized that “the determination of

 a question directly involved in one action is conclusive as to that question in a

 second suit.” Cromwell v. County of Sac, 94 U.S. 351, 354 (1876). The idea is

 straightforward: Once a court has decided an issue, it is “forever settled as

 between the parties,” Baldwin v. Iowa State Traveling Men's Ass’n., 283 U.S.

 522, 525 (1931), thereby “protect[ing]” against “the expense and vexation

 attending multiple lawsuits, conserv[ing] judicial resources, and foster[ing]

 reliance on judicial action by minimizing the possibility of inconsistent

 verdicts.” B & B Hardware, Inc. v. Hargis Indus., Inc., 575 U.S. 138, 147

 (2015).

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       The issue-preclusion principle means that “when an issue of ultimate

 fact has once been determined by a valid and final judgment, that issue

 cannot again be litigated between the same parties in any future lawsuit.”

 Bravo-Fernandez v. United States, 137 S. Ct. 352, 356 (2016). Under the

 doctrine of issue preclusion, “a prior judgment ... foreclos[es] successive

 litigation of an issue of fact or law actually litigated and resolved in a valid

 court determination essential to the prior judgment.” New Hampshire v.

 Maine, 532 U.S. 742, 748–749, (2001). Herrera v. Wyoming, 139 S. Ct. 1686,

 1697 (2019).

       For an issue to be collaterally estopped, the party invoking the doctrine

 has the burden of establishing four separate elements: (1) the issue

 previously decided is identical with the one presented in the action in

 question, (2) the prior action has been finally adjudicated on the merits, (3)

 the party against whom the doctrine is invoked was a party or in privity with

 a party to the prior adjudication, and (4) the party against whom the doctrine

 is raised had a full and fair opportunity to litigate the issue in the prior

 action. Stan Lee Media, Inc. v. Walt Disney Co., 774 F.3d 1292, 1297 (10th

 Cir. 2014). Because all these elements are met here, Plaintiffs are estopped

 from bringing this action.
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       (1)   The issue previously decided is identical with the one presented

 in the action in question. The issue presented in this action is whether

 Plaintiff’s are entitled to court-appointed counsel in their Colorado state

 criminal proceedings. See [Doc. No. 1] at ¶ 29. This is the same identical issue

 Plaintiffs raised before the state district court and which was addressed in

 the State court order. See Exhibit A.

       (2)   The prior action has been finally adjudicated on the merits.

 Plaintiffs challenged the initial determination made by the State Public

 Defenders Office that Plaintiffs were ineligible for court-appointed

 counsel. Exhibit A at 1. The State district court held a hearing on April

 29, 2021, made inquiries, and considered the facts and the law before

 issuing its order. Id. Plaintiffs appealed to the state supreme court and

 the supreme court let the district order stand. See Exhibit B.3

       (3)   the party against whom the doctrine is invoked was a party or in

 privity with a party to the prior adjudication. Plaintiffs themselves brought



 3Plaintiffs may not now seek through this action a final adjudication on the
 merits correcting perceived errors in the State court order; under Rooker-
 Feldman, federal district courts lack jurisdiction over a suit challenging the
 correctness of a state-court ruling. Bolden v. City of Topeka, Kan., 441 F.3d
 1129, 1142 (10th Cir. 2006).
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 the action in the State district court objecting to the public defender’s

 ineligibility determination, and a public defender appeared on behalf of the

 public defender’s office. See Exhibit A at 1.

       (4)   The party against whom the doctrine is raised had a full and fair

 opportunity to litigate the issue in the prior action. Plaintiffs appeared with

 counsel before the State District court and were accorded a hearing on April

 29, 2021. Exhibit A at 1. The court subsequently issued an order setting forth

 its detailed findings of fact and analysis. Id.

    C. Plaintiffs’ 1983 claims brought against Defendants in their individual
       capacity is barred by qualified immunity.

       A defense of qualified immunity may be properly asserted in a Rule

 12(b)(6) motion. Lybrook v. Members of Farmington Mun. Sch. Bd. of Educ.,

 232 F.3d 1334, 1337 (10th Cir. 2000). Qualified immunity protects govern-

 ment officials as long as their conduct does not violate clearly established

 statutory or constitutional rights of which a reasonable person would have

 known. Boles v. Neet, 486 F.3d 1177, 1180 (10th Cir. 2007). It balances two

 important interests—the need to hold public officials accountable when they

 exercise power irresponsibly and the need to shield officials from harassment,

 distraction, and liability when they perform their duties reasonably. Pearson

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 v. Callahan, 555 U.S. 223, 231 (2009). Plaintiffs here allege that “Defendants

 unjustifiably refused to follow the statewide mandatory standards for the de-

 termination of indigency,” [Doc. No. 1] at ¶ 21, and “unlawfully failed to fol-

 low the Chief Justice Directive,” id. at ¶ 26. Where a public official is alleged

 to have erred while executing official duties, such employee is still entitled to

 immunity. Ashcroft v. Al-Kidd, 131 S. Ct. 2074, 2085 (2011) (“Qualified im-

 munity gives government officials breathing room to make reasonable but

 mistaken judgments about open legal questions”).

       When a defendant raises the defense of qualified immunity, the plain-

 tiff must demonstrate that the defendant's conduct violated a federal consti-

 tutional or statutory right which was clearly established at the time of the

 conduct. Hulen v. Yates, 322 F.3d 1229, 1237 (10th Cir. 2003). The plaintiff is

 then held to a heightened standard of pleading, and the complaint should in-

 clude all of the factual allegations necessary to sustain a conclusion that de-

 fendant violated clearly established law. Pueblo Neighborhood Health Cen-

 ters, Inc. v. Losavio, 847 F.2d 642, 646 (10th Cir. 1988). The plaintiff must ad-

 equately allege a violation of clearly established law and plead facts which, if

 true, show that any reasonable official would have understood that what he


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 or she was doing violated the plaintiff’s rights under that law; i.e., that an ob-

 jectively reasonable official would have known that his conduct was unlawful.

 Lawrence v. Reed, 406 F.3d 1224, 1230 (10th Cir. 2005).

       Thus, to sustain their individual capacity claims against Defendants

 here, Plaintiffs must now point to law that was clearly established and show

 how Defendants violated it. If they cannot, their claims must be dismissed.

 Mitchell v. Forsyth, 472 U.S. 511, 526 (1985) (unless the plaintiff's allegations

 state a claim of violation of clearly established law, a defendant pleading

 qualified immunity is entitled to dismissal).

                                 CONCLUSION

       WHEREFORE, for the reasons and authorities set forth above, Defend-

 ants respectfully request this Court to dismiss Plaintiffs’ Complaint with

 prejudice and to grant the Defendants all other relief to which they are enti-

 tled by law.




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      RESPECTFULLY SUBMITTED this 11th day of November 2021,

                                   PHILIP J. WEISER
                                   Attorney General


                                  /s/ Andrew M Katarikawe
                                  ____________________________________

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                         CERTIFICATE OF SERVICE

       I certify that I served the foregoing MOTION TO DISMISS upon all

 parties herein by e-filing and service through the CM/ECF system maintained

 by the court or by depositing copies of same in the United States mail, first-

 class postage prepaid, at Denver, Colorado, this 11th day of November 2021.



                                        s/ Linda Miller




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